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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   BRYON STAFFORD, individually and on                Lead Case No.: 17-CV-1340 TWR
     behalf of all others similarly situated,           (AHG)
12
                                       Plaintiff,       (consolidated with No. 18-CV-152 TWR
13                                                      (AHG))
     v.
14
                                                        ORDER LIFTING STAY
     RITE AID CORPORATION,
15
                                     Defendant.         (ECF No. 226)
16
17         Presently before the Court is Plaintiffs Bryon Stafford and Robert Josten and
18   Defendants Rite Aid Corporation and Rite Aid Hdqtrs. Corp’s Joint Status Report and
19   Proposed Scheduling Order (ECF No. 226), in which the Parties report that they have
20   reached an impasse regarding settlement negotiations and propose a schedule of remaining
21   dates and deadlines. Upon consideration of the Joint Status Report, the Court LIFTS the
22   stay in these consolidated actions for all purposes. Defendants MAY FILE a motion to
23   stay these consolidated actions pending the Ninth Circuit’s decision in Washington v. CVS
24   Pharmacy, Inc., No. 21-16162 (9th Cir. filed July 9, 2021), within fourteen (14) days of
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26   ///
27   ///
28   ///
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                                                                                    17-CV-1340 TWR (AHG)
                                                              (consolidated with No. 18-CV-152 TWR (AHG))
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 1   the electronic docketing of this Order. Further dates and deadlines will be set as appropriate
 2   following resolution of Defendants’ anticipated motion to stay.
 3         IT IS SO ORDERED.
 4   Dated: September 1, 2022
 5                                                 _____________________________
                                                   Honorable Todd W. Robinson
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                                                   United States District Judge
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                                                                                    17-CV-1340 TWR (AHG)
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